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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA

                                 *AMENDED TRIAL MINUTES


 Date: January 31, 2023                 Time in Court: 6 hours, 5       Judge: EDWARD M. CHEN
                                        minutes
 Case No.: 18-cv-04865-EMC              Case Name: In re Tesla Securities Litigation

Attorneys for Plaintiffs: Nicholas Porritt, Elizabeth Tripodi, Alexander Krot, Joseph Levi,
Adam Apton
Attorneys for Defendant: Alexander Spiro, Andrew Rossman, Phillip Jobe, Ellyde Thompson,
Jesse Bernstein, Michael Lifrak, Anthony Alden, Matthew Alexander Bergjans, William Price

Deputy Clerks: Vicky Ayala                          Court Reporters: Belle Ball/Debra Pas


                                          PROCEEDINGS

Jury Trial: HELD.

                                              SUMMARY


*Witnesses: David Arnold, Steven Heston, Michael Hartzmark,

Admitted Exhibits: 504, 505, 511, 298

See attached trial log for further details.
